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16                         UNITED STATES DISTRICT COURT
17                        CENTRAL DISTRICT OF CALIFORNIA
18   Bureau of Consumer Financial               CASE NO. 8:19-cv-01998 MWF (KS)
19   Protection, et al.,
                                                 NOTICE OF PLAINTIFF’S MOTION
20                                               FOR ORDER TO SHOW CAUSE WHY
            Plaintiffs,
                                                 DEFENDANT WEN SHOULD NOT
21                                               BE HELD IN CONTEMPT AND FOR
            v.
22                                               RELATED RELIEF
23   Consumer Advocacy Center Inc., d/b/a
                                                 REDACTED PURSUANT TO ORDER
     Premier Student Loan Center, et al.,
24                                               OF THE COURT DATED
                                                 DECEMBER 30, 2020
25          Defendants.
26                                               Hearing: February 8, 2021 at 10:00 a.m.
                                                 Hon. Michael W. Fitzgerald
27                                               Courtroom 5A (remote)
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 1   TO THE COURT AND ALL PARTIES:
 2         This motion is made following the conference of counsel pursuant to L.R. 7-
 3   3, which took place on December 17, 2020. Plaintiff the Bureau of Consumer
 4   Financial Protection (Bureau) hereby seeks entry of an order requiring Defendant
 5   Kaine Wen to show cause as to why he should not be held in contempt and for
 6   related relief. The Court entered the Ex Parte Temporary Restraining Order with
 7   Appointment of Receiver, and Other Equitable Relief, and Order to Show Cause
 8   Why a Preliminary Injunction Should Not Issue on October 21, 2019, (ECF 24),
 9   and the Stipulated Preliminary Injunction with Asset Freeze, Appointment of
10   Receiver, and Other Equitable Relief on November 15, 2019, (ECF 103), requiring
11   Defendant Wen to provide certain financial disclosures to the Bureau and freezing
12   all of his assets. Defendant Wen has dissipated Redacted                    in direct
13   violation of the asset freeze imposed by the Court and has failed to disclose assets
14   and transfers in his court-ordered financial statement and accounting. See Temp.
15   Restraining Order, ECF No. 24 (TRO) and Stip. Prelim. Injunct. with Asset Freeze,
16   Appt. of Receiver and other Equitable Relief Order, ECF No. 103 at VIII.A, D (PI
17   Order), VII, VIII.A and D.
18         In light of Mr. Wen’s violations of the Court’s orders, the Bureau requests
19   that the Court order:
20         1. Defendant Wen to show cause why he should not be held in contempt for
21            his violations of this Court’s orders.
22         2. Defendant Wen to immediately (a) transfer to the Receiver Redacted
23            Redacted he has identified to the Bureau to date, including Redacted

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26
              Redacted
27         3. Defendant Wen to pay to the Receiver the value of all dissipated Redacted
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 1            Redacted

 2         4. That the Receiver is directed and authorized to treat the aforementioned
 3            Redacted
 4            Redacted as Receivership Assets, and to exercise the full scope of his

 5            authority as set forth in the Stipulated Preliminary Injunction With Asset
 6            Freeze, Appointment of Receiver, and Other Equitable Relief (ECF No.
 7            103) with respect to those Assets.
 8         5. Defendant Wen to provide a sworn statement supplementing his
 9            responses to Items 23 and 31 in the individual financial statement, and to
10            identify Redacted
11            Redacted
12            Redacted                                                   If the statement
13            does not include all of the requested information, then he must explain in
14            a sworn statement the steps he took to try to acquire the information.
15         6. Defendant Wen to submit to the Bureau an accounting, verified under
16            oath, of all payments, transfers, or assignments of any Assets worth
17            $5,000 or more from January 1, 2015, through the date of the Court’s
18            order. The statement shall include: (a) the amount transferred or
19            assigned; (b) the name of each transferee or assignee; (c) the date of the
20            assignment or transfer; and (d) the type and amount of consideration paid
21            by or to the Defendant. Each statement shall specify the name and
22            address of each financial institution (as defined in the PI Order) at which
23            Defendant has accounts or safe deposit boxes. If the statement does not
24            include all of this information, then he must explain in a sworn statement
25            the steps he took to try to acquire the information.
26         On December 17, 2020, Plaintiff’s counsel spoke with Defendant Wen’s
27   counsel, Matthew Eanet and Laurel Champion, by phone to discuss the relief
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 1   requested in the Bureau’s Motion for Order to Show Cause as to Why Defendant
 2   Wen Should Not be Held in Contempt and Related Relief. On December 21, 2020,
 3   counsel notified the Bureau that he opposes the requested relief.
 4         Mr. Eanet’s contact information is as follows:
 5         Matthew Eanet
 6         Eanet, PC
           550 S. Hope Street, Suite 750
 7         Los Angeles, CA 90071
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10   This motion is supported by the accompanying memorandum of points and
11   authorities, the declarations of Jesse Stewart and Andrew Nigrinis.
12   A proposed order is attached hereto.
13

14   Dated: January 8, 2021                       /s/ Sarah Preis
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20                                                Consumer Financial Protection
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